$2&  :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u 2ULJLQDO                u 'XSOLFDWH2ULJLQDO


                                           81,7(' 67$7(6 ',675,&7 &2857
                                                                         IRUWKH
                                                         Eastern District of Wisconsin
                                                         BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                  ,QWKH0DWWHURIWKH6HDUFKRI
             (Briefly describe the property to be searched
              or identify the person by name and address)                          &DVH1R 20-1041M(NJ)
             ,QIRUPDWLRQ DVVRFLDWHG ZLWK
    %URDGZD\FRQVWUXFWLRQZL#JPDLOFRP WKDW LV
    VWRUHG DW SUHPLVHV FRQWUROOHG E\ *RRJOH //&
                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
7R      $Q\DXWKRUL]HGODZHQIRUFHPHQWRIILFHU
           $QDSSOLFDWLRQE\ DIHGHUDOODZ HQIRUFHPHQW RIILFHU RUDQDWWRUQH\ IRUWKHJRYHUQPHQWUHTXHVWVWKHVHDUFKDQGVHL]XUH
RIWKHIROORZLQJSHUVRQRUSURSHUW\ ORFDWHG LQWKH                                  'LVWULFWRI
(identify the person or describe the property to be searched and give its location)
  6HH DWWDFKPHQW $




        ,ILQGWKDWWKHDIILGDYLW V RUDQ\UHFRUGHGWHVWLPRQ\HVWDEOLVKSUREDEOHFDXVHWRVHDUFKDQGVHL]HWKHSHUVRQRUSURSHUW\
GHVFULEHGDERYHDQGWKDWVXFKVHDUFKZLOOUHYHDO (identify the person or describe the property to be seized)
  6HH DWWDFKPHQW %




         <28$5(&200$1'('WRH[HFXWHWKLVZDUUDQWRQRUEHIRUH             October 21, 2020            (not to exceed 14 days)
       u LQWKHGD\WLPHDPWRSP uxDWDQ\WLPHLQWKHGD\RUQLJKWEHFDXVHJRRGFDXVHKDVEHHQHVWDEOLVKHG

        8QOHVVGHOD\HGQRWLFHLVDXWKRUL]HGEHORZ\RXPXVWJLYHDFRS\RIWKHZDUUDQWDQGDUHFHLSWIRUWKHSURSHUW\WDNHQWRWKH
SHUVRQIURPZKRPRUIURPZKRVHSUHPLVHVWKHSURSHUW\ZDVWDNHQRUOHDYHWKHFRS\DQGUHFHLSWDWWKHSODFHZKHUHWKH
SURSHUW\ZDVWDNHQ
        7KHRIILFHUH[HFXWLQJWKLVZDUUDQWRUDQRIILFHUSUHVHQWGXULQJWKHH[HFXWLRQRIWKHZDUUDQWPXVWSUHSDUHDQLQYHQWRU\
DVUHTXLUHGE\ODZDQGSURPSWO\UHWXUQWKLVZDUUDQWDQGLQYHQWRU\WR                   +RQRUDEOH 1DQF\ -RVHSK                   
                                                                                                  (United States Magistrate Judge)

     u 3XUVXDQWWR86&D E ,ILQGWKDWLPPHGLDWHQRWLILFDWLRQPD\KDYHDQDGYHUVHUHVXOWOLVWHGLQ86&
  H[FHSWIRUGHOD\RIWULDO DQGDXWKRUL]HWKHRIILFHUH[HFXWLQJWKLVZDUUDQWWRGHOD\QRWLFHWRWKHSHUVRQZKRRUZKRVH
SURSHUW\ZLOOEHVHDUFKHGRUVHL]HG(check the appropriate box)
     u IRU         GD\V(not to exceed 30) u XQWLOWKHIDFWVMXVWLI\LQJWKHODWHUVSHFLILFGDWHRI
                                                                      QJ WK
                                                                            KHHODWHUVSHFLILFGDWH RI                                 


'DWHDQGWLPHLVVXHG            10/7/20 @ 12:44 p.m.
                                                                                                          Judge’s
                                                                                                          JJu
                                                                                                            udge’s sign
                                                                                                                   signature
                                                                                                                     gnature
                                                                                                                     gn

&LW\DQGVWDWH             0LOZDXNHH :,                                                         +RQRUDEOH 1DQF\ -RVHSK
                                                                                                        Printed name and title
                          Case 2:20-mj-01041-NJ                    Filed 10/07/20     Page 1 of 25          Document 1
$2&  :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV 3DJH

                                                                             5HWXUQ
&DVH1R                                'DWHDQGWLPHZDUUDQWH[HFXWHG                 &RS\RIZDUUDQWDQGLQYHQWRU\OHIWZLWK

,QYHQWRU\PDGHLQWKHSUHVHQFHRI

,QYHQWRU\ RIWKHSURSHUW\ WDNHQDQGQDPH V RIDQ\ SHUVRQ V VHL]HG




                                                                         &HUWLILFDWLRQ


        ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQYHQWRU\LVFRUUHFWDQGZDVUHWXUQHGDORQJZLWKWKHRULJLQDOZDUUDQWWRWKH
GHVLJQDWHGMXGJH



'DWH
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                          Case 2:20-mj-01041-NJ                     Filed 10/07/20       Page 2 of 25        Document 1
                                     ATTACHMENT A

                                   Property to Be Searched

       This warrant applies to information associated with broadwayconstructionwi@gmail.com

that is stored at premises owned, maintained, controlled, or operated by Google, a company

headquartered at 1600 Amphitheatre Parkway, Mountain View, CA.




        Case 2:20-mj-01041-NJ        Filed 10/07/20     Page 3 of 25      Document 1
                                        ATTACHMENT B

                                  Particular Things to be Seized

   I.        Information to be disclosed by Google (the “Provider”)

        To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, regardless of whether such information is located within or

outside of the United States, and including any emails, records, files, logs, or information that

has been deleted but is still available to the Provider, or has been preserved pursuant to a request

made under 18 U.S.C. § 2703(f) March 19, 2020, the Provider is required to disclose the

following information to the government for each account or identifier listed in Attachment A:

        a.      The contents of all emails associated with the account July 17, 2018, to present,

including stored or preserved copies of emails sent to and from the account, draft emails, the

source and destination addresses associated with each email, the date and time at which each

email was sent, and the size and length of each email;

        b.      All records or other information regarding the identification of the account, to

include full name, physical address, telephone numbers and other identifiers, records of session

times and durations, the date on which the account was created, the length of service, the IP

address used to register the account, log-in IP addresses associated with session times and dates,

account status, alternative email addresses provided during registration, methods of connecting,

log files, and means and source of payment (including any credit or bank account number);

        c.      The types of service utilized;

        d.      All records or other information stored by an individual using the account,

including address books, contact and buddy lists, calendar data, pictures, and files; and



                                                  2



         Case 2:20-mj-01041-NJ          Filed 10/07/20      Page 4 of 25      Document 1
       e.      All records pertaining to communications between the Provider and any person

regarding the account, including contacts with support services and records of actions taken.

The Provider is hereby ordered to disclose the above information to the government within one

month of issuance of this warrant.




                                                3



        Case 2:20-mj-01041-NJ         Filed 10/07/20      Page 5 of 25      Document 1
   II.      Information to be seized by the government

         All information described above in Section I that constitutes evidence of violations of 18

U.S.C. § 1957, 18 U.S.C. § 1343, 18 U.S.C. § 287, and 18 U.S.C. § 371, those violations

involving Richard Platt and Nicole Platt and occurring after July 17, 2018, including, for each

account or identifier listed on Attachment A, information pertaining to the following matters:

            (a) Conspiracy to engage in government contract set-aside fraud and money

                laundering of the proceeds of the fraud;

            (b) Government Contracting fraud committed by Richard Platt, Nicole Platt, Platt

                Construction, and Broadway Construction;

            (c) False statements to the federal government in relation to government contracting;

            (d) Evidence indicating how and when the email account was accessed or used, to

                determine the geographic and chronological context of account access, use, and

                events relating to the crime under investigation and to the email account owner;

            (e) Evidence indicating the email account owner’s state of mind as it relates to the

                crime under investigation;

            (f) The identity of the person(s) who created or used the user ID, including records

                that help reveal the whereabouts of such person(s).

            (g) The identity of the person(s) who communicated with the user ID about matters

                relating to government contracts, including records that help reveal their

                whereabouts.




                                                  4



          Case 2:20-mj-01041-NJ         Filed 10/07/20     Page 6 of 25      Document 1
 G GG A*GG 9:+(B&5/G#<GG01CGFG, ;$62G7=GD%>G,)-!G ."E?83'G 4@G


                                           
                                                                          ǆ˝Ϙ͏ǗĹϘ
                                                       w§͐̕ĺ̉ʒϘsǽ̖Θ̊Ǿó͑ϘʗƷϘ¥ǿ̗ôʘɡ̘ȯʓϘ

               ~ɢϘ͒ǘĻϘ¨ΙΚļ˞ϘʙƸϘ͓ĽϘľ©˟õǙϘʚƹϘ
          ôRĿņ=Sď1õ-TņĠUņêö×ëV÷ĻņġØņ.WņĐXø2Y>ņ
           Ùùņ?ZÁĢ°ŀņģ[ņì\ĊĝÚÂņńņÃ»]ņÄ@ņABú^đğņ
                                                                                                        kª̙ĿϘʛ6Ϙ
          ɣǀˠɓ«͔ȀϘ̛̚ʜĚȰ͕ŀěϘπȁ͖ǚϘ                                                                OD ODSH'(
i"¬Ĝρϊöɤ̜͗"Ϋ÷͘Ȃςȃcǐ­ȄɅ?øʝϘ͙Ǜ®͚Ϙȅ̝Ϙ ̞͛ˡĝϘ ¯͜Ϙ                          
       ˌˢŁɔȆ̟ł̠Ϙ ùʞɥ͝ˣʟɆɇĞϘ èϋϘzʠǑȷŃϘ lϘ                                   

    -+ 5&!<'.<<:3%6<;<7  ,("<&/<)80<2< 91*# < $4<
       )Ϙ°Ϙǂğń̋ãȸϘ ȹ±&ϘŅɦǇˤúņɕŇɧ͞Ϙʡǃûň˥Ϙ˦ϘæϘ%Λʢ̑ŉόϘǈ˧Ϙ͟ǜŊϘǒιŋ̒Ōɨ͠*Ϙ˨ō˚άŎ̡͡Ϙ²Ϙ̢ŏ³˩üǝϘσç´ɩ͢ϘµɪϘ̣ΜäͣŐϘέɫĠő˪Ϙ
ˍŒɬ¶ȺΩϘʣϘˎœNή˫ύϘͤǞ·ͥϘϘǟ¸κŔϘˬŕ¹̤ʤɭϘͦʥϘéŖɈȱŗλŘϘͧǠºͨϘʦɮϘͩǡřϘǉɉɊʧτȲʔǓϘ Ś˭̥ʨɯϘˮϘˏ̌ˋːśͪΪϘ  PÅĸ¯ŅņĤ_ņí`ûĒÛÆņÜüņQē3ý¡aņĥb
îċèïcþĹ  ĦÝņ dņĔe ÿ4fCņ!ÇDņ¢ļgņ£ħĕņµÞ5"Ĩ¤ßÈņ
  ŜŝϘ ΝΞýǢɖŞɰͫϘdϘ

Ȼʩþ»ͬşġϘȳʕϘͭǣŠϘ                                       tȇ̦ͱ˯ȈĀ$ϘʪƺϘ                                         +ϘͲǥ˰ŤϘȉ̧ϘɲʫυϘāʬɳĂť½ȼϘ FpÊī±łņĬq
ðhČĞàÉņáĀņEiĖ6ā¥/jņĩkņñčéòlĎĺŁņĪâņmņėn³oNņ
  šŢϘͮͯ¼ÿǤɗţɱͰϘjϘ


           ǦŦϘê¾̨Ȋ̩ϘǊ˱ϘͳŧϘ̪Ũ¿˲ăǧϘίɴũ˳ϘxŪĢ7Ϙ 8Ϙ m˴ȋɘ9Ϙ :Ϙ SϘȽ'Ą(ϘȌ#Ϙ 7r8´ņãËsņäĂņ¼åăt 
                  ϗϘūμȍģŬɵąŭϘʭƻϘÀϘĆ̐əŮ`Ϙ
                  DϘ ćʮɶʹ˵ÁëÂɷ,Ϙ ǎȎ͵̫ϘʯƼϘĈɒɚů-Ϙʰ˶ϘʱͶǨŰ˷Ϙȏͷűɛ̬ϘȐɋɌŲǔÃɍɎώϘˑʲ̭̮ų̯̰ŴĤaϘ
                  EϘ ̏!ŵ̔ϘĥŶ̱ȑǖŷĦϘǋ˸Ϙΰ̲Ÿ.ϘȒɸ͸ŹɹħźϘǌ˹Ϙα̳Ż/Ϙ ʳ˺Ϙβ̴żĨϘȓɺϘ ĉʴɜɝȔΦȕɻǕϘÄϘĊ˻ȖɞŽbϘ
                   ÅϘ˒ž˼̵ɼϘ͹ϘìſϘÆɽƀ̶%ƁĩϘ˽ϘϘ˓Ƃ˾̷ʵɾϘφʶϘȗ̸ϘγɿȾÇχǏɏɐϏϘ˿ƃ̹ͺ̍åȘʀƄĪ
           ƅϘ̺ƆÈ̀ċǩϘș̻Ϙ́ƇȿÉͻƈīϘͼϘÊϘνȚʷɀËͽțʸʁϘʹƽ\Ϙ
                                                                                      
         Ȝ;ƉϘ G 0Ϙ ¢nϘƊČͿȝʺʂ̼Ϙ H[VW1Ϙ              ƋϘΧčǪƌĭϘǄĮξȞ΀Ϙ
        I T 2Ϙ O XϘÌĬϘ PYJϘ

         ¡ǫƍϘÍ!˔ɁȟĎÎ΁ȠʻʃϘȡ̽ϘíÏ̾ƎϘʼʄϘ΂Ə̿ƐϘǁď΃̀]Ϙ
        ƑƒϘΨ ĐǬƓįϘ ÐǅİÑοȢ΄Ϙ


            oʽʅ΅ȴʖδƔϘʾʆϘΆǭƕϘÒΟΠÓđǮƖϘ́ǯƗƘΡ@
            uƙɂÔϐƚıϘʇʿ·ȣĒƛϘˀϘ       Ĳϑ͂Ϙ ¦Ľuņvľ#9ĭņwÌG§ÍņOĮxņȤƾϘ½æĄyņį$Îņ ņH%ŃĘ                                        Ϙ Ȩ͇Ϙ̂Ƣ˛εƣ͈΋ƤĴϘζʉĵƥ̃Ϙ
                KZϘ £; rAϘ ϖϘ QLFRÕϘ ΈǰƜϘîÖ̓ȥ̈́ϘϘ&ǱȦēǲϘȧͅϘ͆ƝΉϘǍ̓ǳϘˁʈϘΊǴƞϘ×΢ΣØĔǵƟĳϘ#ǶƠơΤB


                                                                                                                             
                                                                                                 ˂͉˕ǷϘ͊ï˃̎3Ϙ e4Ϙ ¤fϘ{gϘ|Ϙ
                                                                                                         ą¨ÏİzIņÐ&¾{ņ' Jņı©Ĳ¶|ņ

hΌ΍Ʀ͋ΎƧĶϘΏ˄ϘðϒϘΐǸƨϘÙ˖˗ɑȵĕÚʊΑϘȩʋϘÛĖė˅̄ÜʌĘƩϘψȪΒǹϘΥǼƪϘ̅ƫ˜ηȫ̆ƬɟƭʍΓ͌ϘˆƿϘyƮķ<Ϙ
                                                          ƬɟƭʍΓ͌ϘˆƿϘyƮķ<Ϙ  Ϙ ṗȬɠ Ϙ =Ϙ U  U>
                                                                                            U>MϘ
                                                                                             >MϘ ñϓϘ
                      ΔƯɃư˘ǺˇʎƱϘ                      ęó}:²ņĆ~·ª(0¸ņ¹;ĳćçÑ«<ņ¿)ÒĚ
                                                          :²
                                                           ² Ć~··ª(0¸
                                                                   0¸ņ
                                                                   0¸  ¹;;ĳĳććçÑ«<ņ¿)ÒĚ


vÝΕƲ^ϘHDWODOD
                                                                                                           Kņ
                                                                                                           
                                                                                                           
                                                                                                             KņěņĜ¬Ó*ĴĈņ

qȭ$ϕϘÞʏĸϘ͍ΖßΗƳ_Ϙ ȮωàθȶƴƵ5Ϙ ¦CϘ                                                                    }ˈʐˉ̈áòɄϘâʑęϔϘˊ͎ƶ˙ǻϘ
                      Case 2:20-mj-01041-NJ                      Filed 10/07/20               Page 7 of ĉ­Ôĵ
                                                                                                        25 LņÕ+Àņ,ÖMņĶ®ķºņ
                                                                                                              Document 1
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN

 IN THE MATTER OF THE SEARCH OF
 INFORMATION ASSOCIATED WITH
 BROADWAYCONSTRUCTIONWI@GMAIL.COM
 THAT IS STORED AT PREMISES CONTROLLED
                                       Filed Under Seal
 BY GOOGLE LLC


                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Joseph Osborne, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with a certain account that is stored at premises controlled by Google LLC

(Google), an email provider headquartered at 1600 Amphitheatre Parkway, Mountain View, CA.

The information to be searched is described in the following paragraphs and in Attachment A.

This affidavit is made in support of an application for a search warrant under 18 U.S.C. §§ 2703(a),

2703(b)(1)(A) and 2703(c)(1)(A) to require Google to disclose to the government copies of the

information (including the content of communications) further described in Section I of

Attachment B.     Upon receipt of the information described in Section I of Attachment B,

government-authorized persons will review that information to locate the items described in

Section II of Attachment B.

       2.      I am a Special Agent with the United States General Services Administration

(GSA), Office of Inspector General (GSA OIG), in Chicago, IL, and have been since April 2016.

As a Special Agent with GSA OIG, my duties and responsibilities include the investigation of all

federal criminal statutes and violations of law when that violation pertains to GSA programs and

operations. I have received extensive training in conducting complex fraud investigations



        Case 2:20-mj-01041-NJ          Filed 10/07/20      Page 8 of 25      Document 1
involving Government contractors and methods they use to defraud the Government. The facts in

this affidavit come from my personal observations, my training and experience, my review of

records, and my communications with other law enforcement officers.

        3.      This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

        4.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of 18 U.S.C. § 1957 (Money Laundering), 18 U.S.C. §

1343 (Wire Fraud), 18 U.S.C. § 287 (Filing a False Claim), and 18 U.S.C. § 371 (Conspiracy to

Commit Defraud the United States) have been committed by Richard Platt (“R. Platt”), Nicole

Platt (“N. Platt”), and potentially other persons, known and unknown. There is also probable cause

to search the information described in Attachment A for evidence of these crimes further described

in Attachment B.

                                          JURISDICTION

        5.      This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711 and 18 U.S.C. §§ 2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

                                       PROBABLE CAUSE

        6.      I am currently assigned to investigate an alleged violation of federal laws involving

the use of a pass-through company to obtain government contracts under a Historically

Underutilized Business Zone (HUBZone) status-based, set-aside program. The following

describes how a pass-through scheme works: A HUBZone is established by a person who does not

meet the requirements needed to qualify for HUBZone set-aside or sole source contracts. Once

                                                   2



         Case 2:20-mj-01041-NJ           Filed 10/07/20      Page 9 of 25       Document 1
such a contract is awarded to the entity that fraudulently obtained authorization to win HUBZone

contract, this straw company, “passes” the work through to the non-HUBZone entity that is

ineligible to obtain the contract. Specifically, the matter under investigation involves an allegation

that Broadway Construction, LLC (“Broadway”), a company located in Milwaukee, WI, that is

eligible to win HUBZone contracts, was established to be a pass-through company used by the

non-HUBZone Platt Construction, Inc. (“Platt Construction”), located in Franklin, WI, to obtain

HUBZone set-aside contracts. Broadway obtained their HUBZone certification fraudulently. If the

SBA had been notified that Platt Construction would be performing the work and receiving the

profits for HUBZone contracts awarded to Broadway, they would not have approved Broadway’s

HUBZone application.

       7.      Based on my training, experience, and the facts as set forth in this affidavit, there

is probable cause to believe that violations of federal law have been committed that caused the

Department of Defense (DoD) to award four HUBZone set-side contracts, with a combined value

of approximately $3.5 million, to Broadway, which fraudulently obtained its HUBZone

certification. These violations have occurred since 2019 and are ongoing as Broadway is currently

working on previously awarded HUBZone set-aside contracts and bidding on proposed HUBZone

set-aside contracts. These violations were committed by R. Platt, the President and majority

shareholder of Platt Construction, and N. Platt, the President and majority shareholder of

Broadway.

Background on HUBZone Set-Aside Contracts

       8.      The HUBZone program was established by 15 U.S.C. § 657a to encourage small

businesses located in designated high-unemployment, low-income areas through set-aside federal

contracts. A company can apply for HUBZone certification when the company complies with the

                                                  3



        Case 2:20-mj-01041-NJ          Filed 10/07/20      Page 10 of 25       Document 1
HUBZone program’s requirements including that the firm must be a small business based on

reported North American Industry Classification System (NAICS) codes and reported income,

including affiliated businesses; owned and controlled 51% by United States citizens; have the

company’s main office in a HUBZone; and have at least 35% of its employees living in a

HUBZone. SBA regulates and implements the program. SBA determines which businesses are

eligible to receive HUBZone contracts and maintains a listing of qualified HUBZone small

businesses. To make sure HUBZone firms are following the requirements of the program, the SBA

HUBZone headquarters will periodically direct the district offices to verify current HUBZone

certification.

        Richard Platt

        9.       R. Platt became the owner of Platt Construction in 1980. Since then, Platt

Construction has participated in federal contract set-aside programs to include the Veterans Affairs

Service-Disabled Veteran-Owned Small Business Program, the Department of Transportation’s

Disadvantaged Business Enterprise Program, and the Small Business Administration’s (SBA) 8(a)

Business Development Program.

        Nicole Platt

        10.      N. Platt has a background in dance and theater. She became an employee of Platt

Construction in 2015, first as a secretary, and then as Vice President of Administration. Platt

Construction maintains a website at www.plattcon.net. A review of the website on April 24, 2020,

lists Nikki Platt under the Contact Us tab.

        11.      N. Platt’s income as reported in IRS forms submitted to the Wisconsin Unified

Certification Program (WUCE) was $32,381 in 2015, $59,276 in 2016, and $75,192 in 2017.



                                                 4



        Case 2:20-mj-01041-NJ          Filed 10/07/20     Page 11 of 25       Document 1
Nicole’s income from Platt Construction as reported to the Wisconsin Department of Workforce

Development (WDWD) is listed below.

                                       Year      Amount
                                       2015      $32,381
                                       2016      $48,690
                                       2017      $68,507
                                       2018      $74,177
                                        2019     $88,580


                                        Broadway Construction

       12.     Wisconsin Department of Financial Institutions (WDFI) records show that N. Platt

registered Broadway on August 7, 2017. N. Platt is the only individual listed in all WDFI filings.

In Broadway’s 2019 annual report filed on September 19, 2019, N. Platt provided her email address

as broadwayconstructionwi@gmail.com (“Target Account”).

       13.     Financial records show that N. Platt started Broadway with $500 in capital.

Statements submitted to WUCE indicate Broadway does not have any loans or security

agreements.

       14.     WDWD records show that Broadway has one employee by the name of Beth

Hastings (“Hastings”). Hastings began working for Broadway in 2019. Hastings has also been an

employee of Platt Construction since at least 2006. Bank records and communications submitted

to DoD show that Broadway has two additional employees: Odessa Millan (“Millan”) and Mary

Ambro (“Ambro”). Millan has also been an employee of Platt Construction since 2019. Ambro

has also been an employee of Platt Construction since 2015. No field or labor workers have been

identified for Broadway.



                                                5



       Case 2:20-mj-01041-NJ          Filed 10/07/20       Page 12 of 25    Document 1
       15.     Statements submitted to WUCE indicate Broadway does not have any equipment

or vehicles. Surveillance conducted on N. Platt on August 19, 2020, at her residence showed she

drives a vehicle registered to Platt Construction.

       16.     Broadway is currently certified by the SBA as a business eligible to bid on set-aside

contracts under the HUBZone program. N. Platt made false representations and material omissions

to the SBA during the application process in order to qualify as a small business, as further

referenced below.

       N. Platt applied for the HUBZone program on March 29, 2019. In the application, N. Platt

certified that she was the managing member of Broadway, that Broadway’s principal office was

located in a HUBZone, and that at least 35% of the employees reside in a HUBZone. However,

only one out of the four employees, Hastings, lives in a HUBZone. The certification was approved

on July 16, 2019. The application and supporting documentation was emailed to SBA by the Target

Account. The email included four documents with N. Platt’s signature and also included a copy of

N. Platt’s U.S. passport, Social Security card, and Wisconsin driver’s license.

       N. Platt also submitted a statement with her HUBZone application indicating that she

worked at Broadway 30 plus hours a week, Hastings worked at Broadway 10 hours per week, and

that the office is staffed Monday through Friday from 7:30 a.m. to 4:00 p.m. by N. Platt and/or

Hastings. The office was unstaffed during surveillance conducted on June 16, 2020, from 8:25

a.m. to 8:45 a.m.; August 19, 2020, at 10 a.m. and 12:40 p.m.; August 27, 2020, at 7 a.m. and

10:20 a.m.; and September 1, 2020, at 10:20 a.m.




                                                     6



        Case 2:20-mj-01041-NJ          Filed 10/07/20     Page 13 of 25      Document 1
                                   Broadway’s Government Contracts

       17.     Broadway was awarded four HUBZone set-aside contracts between 2019 and 2020

valued at approximately $3.5 million from the Department of the Army for HVAC, bridge,

generator, and fence repairs, and other work to be determined. Department of the Army contracting

officials primarily relied on Broadway’s self-certification submissions to the SBA to determine

eligibility to bid upon and receive HUBzone contracts.

       18.     Broadway listed Platt Construction as a subcontractor on two projects. Surveillance

conducted on July 27, 2020; August 13, 2020; and August 24, 2020 on one project revealed that

Platt Construction vehicles and employees were present on the job.

                                            Affiliation

       19.     13 C.F.R. § 121.103 states concerns or entities are affiliates of each other when one

controls or has the power to control the other, or a third party or parties control or has the power

to control both.

       20.     13 C.F.R. § 121.103(f) states that individuals or firms that have identical (or

substantially identical) business or economic interests may be treated as one party unless they can

demonstrate otherwise. Family members, persons with common investments, or firms that are

economically dependent through contractual (or other) relationships, are among those treated this

way.

       21.     13 C.F.R. § 121.103(h)(4) states a prime contractor and its subcontractor may be

found affiliated if the subcontractor is determined to be an “ostensible subcontractor.” An

“ostensible subcontractor” is a subcontractor that performs the primary and vital requirements of

a contract, or of an order under multiple award schedule contract or the prime contractor is

unusually reliant on the subcontractor.

                                                 7



        Case 2:20-mj-01041-NJ         Filed 10/07/20      Page 14 of 25       Document 1
       22.     Since N. Platt does not have experience in managing construction projects,

Broadway does not have any construction employees according to WDWD, and Broadway does

not have any vehicles or equipment, Broadway depends on Platt Construction in order to carry out

construction contracts. Broadway unduly relies on Platt Construction. N. Platt also failed to

disclose Broadway’s affiliation with Platt Construction to SBA.

                              Broadway Records in Government Databases

       23.     Any business seeking a contract or purchase agreement with the federal government

must first register online in the System for Award Management (“SAM”), a government-operated

database. This database is under the authority of GSA. The business enters its core data such as

business name, Data Universal Numbering System number, address, owner(s), bank account

information, contacts, NAICS codes, and any assertions of status-based business classification(s).

The business must self-certify that it meets the specific requirements related to their status-based

assertions annually or any time there is a substantive change in the accuracy of previous

certifications. Each status-based business classification is fully defined with references and

hyperlinks to the laws that govern the programs. Contracting officials for government agencies

rely upon these certifications prior to awarding set-aside contracts.

       24.     N. Platt provided the Target account as the email address for Broadway when she

registered on SAM. N. Platt is the only registered user for Broadway on SAM. Therefore, the user

that certified for Broadway in SAM was N. Platt.

       25.     N. Platt made seven certifications from July 17, 2018, through January 3, 2020, for

Broadway on SAM. In the certifications, N. Platt certified that Broadway was a Woman-Owned

Small Business, an Economically-Disadvantaged Woman-Owned Small Business, and/or



                                                 8



        Case 2:20-mj-01041-NJ          Filed 10/07/20      Page 15 of 25      Document 1
HUBZone certified. These certifications are false because Broadway is actually controlled by N.

Platt’s father, R. Platt, who is a man.

       26.     The SAM database is located in Sterling, VA, and Broadway operates out of

Wisconsin. One certification was made from Internet Protocol (IP) address 12.167.12.162 and four

certifications were made from IP address 71.66.11.90. Platt Construction also had SAM

certifications from these IP addresses. According to the Internet Service Provider, IP address

71.66.11.90 is a static IP address issued to Platt Construction at their business address since March

4, 2019. Therefore, the SAM certifications from this IP address would have to be from a computer

at Platt Construction.

       27.     Fedbizopps.gov (“FBO”) was the legacy system for federal agencies to post

contracting opportunities. In 2019, FBO was moved to beta.sam.gov. IP records for FBO show

that a user for both Broadway and Platt Construction logged on from IP address 71.66.11.90, issued

to Platt Construction at their business address. Platt Construction had logins from this IP address

from March 8, 2019, through October 31, 2019. Broadway had logins from this IP address from

July 22, 2019, through August 6, 2019.

       28.     When Broadway was initially registered in SAM, the address listed was N. Platt’s

home address of 1002 N. Jackson St., Milwaukee, WI. This location is not in a HUBZone.

On, March 22, 2019, the address for Broadway was changed to 1812 E. North Ave, Milwaukee,

WI, a location in a HUBZone. This address did not appear to be a business location for Broadway;

rather, it has been the location of a barber shop since October 17, 2018. Broadway’s lease at this

location states it was for 200 square feet of office space. On October 22, 2019, the address for

Broadway was changed to 1932 E. Park Pl., Milwaukee, WI, a location in a HUBZone.



                                                   9



        Case 2:20-mj-01041-NJ             Filed 10/07/20   Page 16 of 25      Document 1
                                           Financial Records

       29.     Financial records in Broadway’s business account at Park Bank from 2017-2020

indicate R. Platt was using Broadway as a pass-through for construction projects. According to

those records, Broadway received funds from various companies/individuals and shortly after

passed the money to Platt Construction in the form of a check for a similar amount. Broadway also

received large sums of money from Platt Construction and shortly after issued a check to other

companies for a similar amount. Additionally, Broadway received large sums of money from the

U.S. Treasury and shortly after passed the money to Platt Construction and other companies in the

form of a check.

       For example, on July 23, 2018, RLP Diversified, Inc. issued a check for $16,327.54 to

Broadway at Platt Construction’s address with memo “Invoice # 180611-1.” On July 31, 2018,

Broadway issued a check for $15,530.76 to Platt Construction with memo “Inv. 180611-1.”

       On July 15, 2019, Platt Construction issued a check for $162,653.93 to Broadway. On July

16, 2019, Broadway issued a check for $147,886.45 to Concrete & Masonry Restoration LLC.

       On January 16, 2020, the U.S. Treasury wired $47,984.88 to Broadway. On January 21,

2020, Broadway issued two checks totaling $29,628 to Platt Construction.

       As of May 20, 2020, Broadway had received $460,566.91 from the U.S. Treasury.

       30.     Due to these violations of federal law, there is probable cause to believe R. Platt,

with assistance from N. Platt and other individuals, has financially benefited from the receipt of

HUBZone set-aside contracts valued at approximately $3.5 million.

       31.     A preservation request was sent to Google on March 19, 2020, and renewed on June

16, 2020, and on September 14, 2020. In general, an email that is sent to a Google subscriber is

stored in the subscriber’s “mail box” on Google servers until the subscriber deletes the email. If

                                                10



       Case 2:20-mj-01041-NJ          Filed 10/07/20     Page 17 of 25       Document 1
the subscriber does not delete the message, the message can remain on Google servers indefinitely.

Even if the subscriber deletes the email, it may continue to be available on Google’s servers for a

certain period of time.

                            BACKGROUND CONCERNING EMAIL

       32.       In my training and experience, I have learned that Google provides a variety of on-

line services, including electronic mail (“email”) access, to the public. Google allows subscribers

to obtain email accounts at the domain name gmail.com, like the email account listed in

Attachment A. Subscribers obtain an account by registering with Google. During the registration

process, Google asks subscribers to provide basic personal information. Therefore, the computers

of Google are likely to contain stored electronic communications (including retrieved and

unretrieved email for Google subscribers) and information concerning subscribers and their use of

Google services, such as account access information, email transaction information, and account

application information. In my training and experience, such information may constitute evidence

of the crimes under investigation because the information can be used to identify the account’s

user or users.

       33.       In my training and experience, email providers generally ask their subscribers to

provide certain personal identifying information when registering for an email account. Such

information can include the subscriber’s full name, physical address, telephone numbers and other

identifiers, alternative email addresses, and, for paying subscribers, means and source of payment

(including any credit or bank account number). In my training and experience, such information

may constitute evidence of the crimes under investigation because the information can be used to

identify the account’s user or users. Based on my training and my experience, I know that, even



                                                 11



        Case 2:20-mj-01041-NJ          Filed 10/07/20      Page 18 of 25      Document 1
if subscribers insert false information to conceal their identity, this information often provides

clues to their identity, location, or illicit activities.

        34.      In my training and experience, email providers typically retain certain transactional

information about the creation and use of each account on their systems. This information can

include the date on which the account was created, the length of service, records of log-in (i.e.,

session) times and durations, the types of service utilized, the status of the account (including

whether the account is inactive or closed), the methods used to connect to the account (such as

logging into the account via the provider’s website), and other log files that reflect usage of the

account. In addition, email providers often have records of the IP address used to register the

account and the IP addresses associated with particular logins to the account. Because every device

that connects to the Internet must use an IP address, IP address information can help to identify

which computers or other devices were used to access the email account.

        35.      In my training and experience, in some cases, email account users will

communicate directly with an email service provider about issues relating to the account, such as

technical problems, billing inquiries, or complaints from other users. Email providers typically

retain records about such communications, including records of contacts between the user and the

provider’s support services, as well as records of any actions taken by the provider or user as a

result of the communications. In my training and experience, such information may constitute

evidence of the crimes under investigation because the information can be used to identify the

account’s user or users.

        36.      As explained herein, information stored in connection with an email account may

provide crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct

under investigation, thus enabling the United States to establish and prove each element or

                                                      12



        Case 2:20-mj-01041-NJ              Filed 10/07/20   Page 19 of 25       Document 1
alternatively, to exclude the innocent from further suspicion. In my training and experience, the

information stored in connection with an email account can indicate who has used or controlled

the account. This “user attribution” evidence is analogous to the search for “indicia of occupancy”

while executing a search warrant at a residence. For example, email communications, contacts

lists, and images sent (and the data associated with the foregoing, such as date and time) may

indicate who used or controlled the account at a relevant time. Further, information maintained

by the email provider can show how and when the account was accessed or used. For example, as

described below, email providers typically log the Internet Protocol (IP) addresses from which

users access the email account, along with the time and date of that access. By determining the

physical location associated with the logged IP addresses, investigators can understand the

chronological and geographic context of the email account access and use relating to the crime

under investigation. This geographic and timeline information may tend to either inculpate or

exculpate the account owner. Additionally, information stored at the user’s account may further

indicate the geographic location of the account user at a particular time (e.g., location information

integrated into an image or video sent via email). Last, stored electronic data may provide relevant

insight into the email account owner’s state of mind as it relates to the offense under investigation.

For example, information in the email account may indicate the owner’s motive and intent to

commit a crime (e.g., communications relating to the crime), or consciousness of guilt (e.g.,

deleting communications in an effort to conceal them from law enforcement).

                                          CONCLUSION

       37.     Based on the forgoing, I request that the Court issue the proposed search warrant.

       38.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant. The government will execute this warrant by

                                                 13



        Case 2:20-mj-01041-NJ          Filed 10/07/20      Page 20 of 25       Document 1
serving the warrant on Google. Because the warrant will be served on Google, who will then

compile the requested records at a time convenient to it, reasonable cause exists to permit the

execution of the requested warrant at any time in the day or night.

                                  REQUEST FOR SEALING

       39.     I further request that the Court order that all papers in support of this application,

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of the

targets of the investigation. Accordingly, there is good cause to seal these documents because

their premature disclosure may give targets an opportunity to flee/continue flight from prosecution,

destroy or tamper with evidence, change patterns of behavior, notify confederates, or otherwise

seriously jeopardize the investigation.




                                                14



        Case 2:20-mj-01041-NJ         Filed 10/07/20      Page 21 of 25       Document 1
                                     ATTACHMENT A

                                   Property to Be Searched

       This warrant applies to information associated with broadwayconstructionwi@gmail.com

that is stored at premises owned, maintained, controlled, or operated by Google, a company

headquartered at 1600 Amphitheatre Parkway, Mountain View, CA.




       Case 2:20-mj-01041-NJ         Filed 10/07/20     Page 22 of 25     Document 1
                                        ATTACHMENT B

                                  Particular Things to be Seized

   I.        Information to be disclosed by Google (the “Provider”)

        To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, regardless of whether such information is located within or

outside of the United States, and including any emails, records, files, logs, or information that

has been deleted but is still available to the Provider, or has been preserved pursuant to a request

made under 18 U.S.C. § 2703(f) March 19, 2020, the Provider is required to disclose the

following information to the government for each account or identifier listed in Attachment A:

        a.      The contents of all emails associated with the account July 17, 2018, to present,

including stored or preserved copies of emails sent to and from the account, draft emails, the

source and destination addresses associated with each email, the date and time at which each

email was sent, and the size and length of each email;

        b.      All records or other information regarding the identification of the account, to

include full name, physical address, telephone numbers and other identifiers, records of session

times and durations, the date on which the account was created, the length of service, the IP

address used to register the account, log-in IP addresses associated with session times and dates,

account status, alternative email addresses provided during registration, methods of connecting,

log files, and means and source of payment (including any credit or bank account number);

        c.      The types of service utilized;

        d.      All records or other information stored by an individual using the account,

including address books, contact and buddy lists, calendar data, pictures, and files; and



                                                  2



        Case 2:20-mj-01041-NJ          Filed 10/07/20      Page 23 of 25      Document 1
       e.      All records pertaining to communications between the Provider and any person

regarding the account, including contacts with support services and records of actions taken.

The Provider is hereby ordered to disclose the above information to the government within one

month of issuance of this warrant.




                                                3



       Case 2:20-mj-01041-NJ          Filed 10/07/20     Page 24 of 25      Document 1
   II.      Information to be seized by the government

         All information described above in Section I that constitutes evidence of violations of 18

U.S.C. § 1957, 18 U.S.C. § 1343, 18 U.S.C. § 287, and 18 U.S.C. § 371, those violations

involving Richard Platt and Nicole Platt and occurring after July 17, 2018, including, for each

account or identifier listed on Attachment A, information pertaining to the following matters:

            (a) Conspiracy to engage in government contract set-aside fraud and money

                laundering of the proceeds of the fraud;

            (b) Government Contracting fraud committed by Richard Platt, Nicole Platt, Platt

                Construction, and Broadway Construction;

            (c) False statements to the federal government in relation to government contracting;

            (d) Evidence indicating how and when the email account was accessed or used, to

                determine the geographic and chronological context of account access, use, and

                events relating to the crime under investigation and to the email account owner;

            (e) Evidence indicating the email account owner’s state of mind as it relates to the

                crime under investigation;

            (f) The identity of the person(s) who created or used the user ID, including records

                that help reveal the whereabouts of such person(s).

            (g) The identity of the person(s) who communicated with the user ID about matters

                relating to government contracts, including records that help reveal their

                whereabouts.




                                                  4



         Case 2:20-mj-01041-NJ         Filed 10/07/20      Page 25 of 25      Document 1
